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                                   UNITED STATES JUDICIAL PANEL
                                                on
                                    MULTIDISTRICT LITIGATION


IN RE: GENERIC PHARMACEUTICALS
PRICING ANTITRUST LITIGATION                                                           MDL No. 2724


                                      (SEE ATTACHED SCHEDULE)


                                CONDITIONAL TRANSFER ORDER (CTO -6)


On August 5, 2016, the Panel transferred 1 civil action(s) to the United States District Court for the
Eastern District of Pennsylvania for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 227 F.Supp.3d 1402 (J.P.M.L. 2016). Since that time, 44 additional action(s)
have been transferred to the Eastern District of Pennsylvania. With the consent of that court, all such
actions have been assigned to the Honorable Cynthia M. Rufe.
It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Eastern District of Pennsylvania and assigned to
Judge Rufe.
Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Muitidjstrict
Liti�ation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Eastern District of Pennsylvania for the reasons stated in the order of August 5, 2016, and, with the
consent of that court, assigned to the Honorable Cynthia M. Rufe.
This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Eastern District of Pennsylvania. The transmittal of this order to said Clerk
shall be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk
of the Panel within this 7-day period, the stay will be continued until further order of the Panel.

  Inasmuch as no objection is
  pending at this tima, the
  stay is lifted.
                                                      FOR THE PANEL:
  I May 30, 2019 !
      CLERK'S OFFICE
          UNITED STATES
       JUDICIAL PANfl.. ON
     MULTIDISTRICT LITIGATION
                                                           524.�·.·
                                                                -.
                                                      John W. Nichols
                                                      Clerk of the Panel


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IN RE: GENERIC PHARMACEUTICALS
PRICING ANTITRUST LITIGATION                                                      MDLNo.2724


                     SCHEDULE CT0-6 - TAG-ALONG ACTIONS



                       C.A,NO,            CASE CAPTION

CONNECTICUT

  CT       3          19-00710            Connecticut et al v. Teva Pharmaceuticals USA, Inc.




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